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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

In Re: ADA Cases Case No: 6:18-me-14-Orl-31DCI

 

ORDER TO SHOW CAUSE

This cause is before the Court sua sponte pursuant to the Orders initiating these
proceedings. See Docs. 1; 2; 3.

On February 20, 2018, United States District Judge Roy B. Dalton, Jr. entered an Order
directing the initiation of proceedings concerning the conduct of the law firm of Thomas B. Bacon,
P.A. and certain of its lawyers and co-counsel in litigation in this District involving the Americans
with Disabilities Act (ADA). Doc. 1. According to the Order, Senior United States District Judge
Gregory A. Presnell will preside over these proceedings, and this matter is referred to the
undersigned United States Magistrate Judge for issuance of an appropriate show cause order and
recommendation to the Court. Jd. This is that show cause order.

In subsequent Orders, Judge Presnell identified eleven additional attorneys litigating ADA
cases in this District who are to be the subject of these proceedings. Docs. 2; 3.

In the Orders, the district judges explained that counsel “have filed numerous ADA cases
in this court over the past few years. In its attempt to efficiently deal with these cases, the Court
has been using a streamlined case management procedure with which the Court expects strict
compliance. Notwithstanding this admonition, [counsel] routinely fail to comply with the Court’s
orders.” Docs. 1; 2;3. The district judges noted in the Orders that, in 2017 for example, there
were 23 show cause orders issued with respect to counsel’s representation of their clients in ADA

cases in the Orlando Division of this District. Jd. As it now stands, this Order to Show Cause
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relates to the law firm of Thomas B. Bacon, P.A. and attorneys Thomas B. Bacon, Philip M.
Cullen, III, Aaron Finesilver, Christine N. Failey, Barry S. Mittelberg, Ayesa Conger, Eric
Matthew Rodriguez, Joshua Howard Sheshkin, Mario Elias Lopes, Rafael Viego, Nadine A.
Brown, Andrew C. Enfield, William T. Leveille, II, Michael Christine, Anthony J. Perez, and
Alfredo Miguel Garcia-Menocal (collectively referred to as Counsel). Jd. In most, but not all, of
the cases at issue, Counsel has represented Patricia Kennedy or Douglas Longhini.

The Court has been lenient in tolerating Counsel’s repeated non-compliance with the rules
and orders of this Court. The Court has continually and routinely directed Counsel to comply with
standing orders and the rules of this Court, and has, on occasion, admonished Counsel in relation
to their conduct and cautioned that further non-compliance would not be tolerated. See, e.g.,
Kennedy v. Hawkins et al., Case No. 6:17-cv-419-CEM-DCI, at Doc. 64 (M.D. Fla. Jan. 26, 2018);
Kennedy v. Skyview Paza, LLC, Case No. 6:17-cv-448-ACC-KRS, at Doc. 42 (M.D. Fla. Jan. 24,
2018); National Alliance for Accessibility v. Fort Gaitlin Shopping Center, LLC, Case No. 6:13-
cv-1082-RBD-DAB, at Doc. 33 (M.D. Fla. Mar. 21, 2014).

While the Court has expressed its frustration with Counsel’s practices — often in the context
of dismissing a complaint or severing parties — the true toll exacted by Counsel’s failings is best
quantified by the sheer number of orders the Court has been required to file to force Counsel to
comply with their existing obligations. Indeed, in the past five years (from 2013 through 2018),
just in the Orlando Division of this District, Counsel_have collectively been the subject of
negative orders on at least 217 occasions. See Chart attached hereto as Exhibit 1. Those negative
orders include show cause orders (for failures to comply with the Federal Rules of Civil Procedure,
the Local Rules of this Court, the ADA Scheduling Order, and other orders of the Court), orders

directing compliance with an existing court orders and rules, involuntary dismissals for failures to
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follow court orders, and admonitions within other orders. Also disturbing is Counsel’s repeated
filing of vague, boiler-plate complaints — often improperly joining multiple defendants — that fail
to comply with the Federal Rules of Civil Procedure, despite numerous negative orders directed to
those deficient pleadings. See, e.g., Kennedy v. Roseland Plaza LLC, Case No. 6:17-cv-735-GAP-
DCI, at Doc. 10 (M.D. Fla. June 2, 2017) ; Kennedy v. Palm Harbor Assoc., Inc. et al., Case No.
6:17-cv-734-RBD-KRS, at Doc. 8 (M.D. Fla. May 3, 2017).

In many cases, Counsel’s response to a negative order has simply been the dismissal of the
action or the filing of a notice of settlement; responses that raise concerns to the Court. Even more
troubling, in other cases Counsel have simply abandoned the prosecution of the case by failing to
file an amended complaint within a required deadline or by failing to respond to an order to show
cause. See, e.g., Kennedy v. Ichikoshi USA, Inc., et al., Case No. 17-cv-550-GAP-DCI, at Doc. 27
(M.D. Fla. June 27, 2017); Kennedy v. IMDAD Haider IRA, LLC et al., Case No. 6:17-cv-454-
GAP-KRS, at Doc. 31 (M.D. Fla. Sept. 20, 2017).

In particular, Counsel have been subject to the following negative orders:

1. Thomas B. Bacon: 61 negative orders;

2. Philip M. Cullen, III: 31 negative orders;

3. Aaron Finesilver: 23 negative orders;

4, Christine N. Failey: 7 negative orders;

5. Barry S. Mittelberg: 2 negative orders;

6. Ayesa Conger: 61 negative orders;

7. Eric Matthew Rodriguez: 65 negative orders;
8. Joshua Howard Sheskin: 83 negative orders;
9. Mario Elias Lopez: 63 negative orders;
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10. Rafael Viego: 56 negative orders;

11. Nadine A. Brown: 5 negative orders;

12. Andrew C. Enfield: 7 negative orders;

13. William T. Leveille, 11: 23 negative orders;

14. Michael Christine: 8 negative orders;

15. | Anthony J. Perez: 54 negative orders;

16. Alfredo Miguel Garcia-Menocal: 35 negative orders;

See Exhibit 1.! These negative orders — most simply seeking compliance with existing orders and
rules — have wasted untold judicial resources, and the Court cannot readily determine why these
Counsel, in particular, refuse to come into regular compliance.

Unfortunately, Counsel seem to have ignored the Court’s warnings and admonishments. It
is apparent that Counsel have taken no real efforts to ensure compliance with this Court’s orders
and the rules of this Court. So the Court now calls Counsel to task for their repeated violations
and will determine whether (and how) Counsel should be sanctioned or, alternatively, how
compliance with the Court’s orders and rules can be obtained.

To be clear, this proceeding should not be viewed as an attempt to prohibit the filing of
ADA cases. Instead, this proceeding focuses on the counsel who bring such actions and their
repeated failure to comply with the Federal Rules of Civil Procedure, the Court’s Local Rules, and
the orders of the Court, as well as common deficiencies found in the ADA complaints filed by

Counsel.

 

! This list covers orders filed by the Court between April 1, 2013 and March 30, 2018. The Court
is aware that additional negative orders have been entered in ongoing ADA cases involving some
of the foregoing counsel. The Court, though, has not included those cases on the chart attached to
this Order, because the chart contains ample evidence to justify the Court’s action in this matter.
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It is well-settled that a court may discipline or sanction an attorney for failure to comply
with the court’s orders. See, e.g., Wouters v. Martin County, Fla., 9 F.3d 924, 933 (11th Cir. 1993)
(“district courts have broad powers under the rules to impose sanctions for a party’s failure to abide
by court orders .. .”). Pursuant to the Local Rules of this Court, a member of the bar of this Court
“may, after hearing and for good cause shown, be disbarred, suspended, reprimanded or subjected
to such other discipline as the Court may deem proper.” Local Rule 2.04(a). Counsel have
repeatedly failed to comply with multiple Court orders.

Thus, it is ORDERED that, on or before May 29, 2018, Counsel shall individually show

cause in writing:

1) Why Counsel repeatedly fail to comply with the Court’s orders and the rules of
this Court;

2) What sanctions can or should be imposed as a result of those failures;

3) Why Counsel should not be banned from filing additional ADA cases before this
Court; and

4) In the alternative, what steps can and will be taken immediately to ensure future

compliance with this Court’s orders and the rules of this Court.

Each attorney and law firm subject to this Order to Show Cause shall file a separate
response on or before the date provided. Thereafter, this Court will schedule a hearing for each
law firm and attorney to address the issues outlined above. A failure to respond to this Order to
Show Cause in the time provided will result in the imposition of sanctions, which may include a
monetary fine and referral to the Grievance Committee of this Court for a recommendation of

appropriate disciplinary action.
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In addition to service via the Court’s CM/ECF system, the Clerk is directed to send a copy
of this Order to all parties via U.S. Mail.

DONE and ORDERED in Orlando, Florida on May 1, 2018.

QP
="DANIEL C. IRICK
UNITES STATES MAGISTRATE JUDGE

Copies furnished to:
Counsel of Record
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95 7-<v-10S7
56 7-cv-1057
97 7-cv-1057 on Motion to Dismiss
98 7-cv-1069
99 7-¢v-1070

100 7-cv-1071 for Amended

101 7-cv-1071

102 7-Cv-1082 on Motion for Default
103 7-cv-1183 to Strike

104 7-cv-1185 to Strike
105 7-cv-1186
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115 7-cv-1276 to Strike
116 7-cv-1315
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118 7-cv-1403
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121 7-cv-1443 to Strike
122 7-cv-1444
123 17-cv-1444 on Motion to Dismiss

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127 1?-cv-1577

128 17-cv-1651 to Strike

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131 17-cv-1986

132 17-cv-1987

133 7-cv-2014 on Motion for Default
134 17-cv-207

135 7-cv-2093 RR for Amended

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138 17-cv-2111

139 17-cv-2129

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141 = {17-cv-2129 to Strike

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143 7-cv-2160 to Strike
144 7-cv-2160 to Strike
145 7-0v-2192

146 7-Cv-271

147 7-cv-2B4

148 -cv-303

149 7-ev-419

150 7-cv-419

151 7-cv-421

152 7-cv-448

153 7-cv-448

154 7-cv-448

155 7-cv-448

156 7-Cv-448 to Strike
157 7-cv-448

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160 F-cv-449

161 T-v-449

162 7-cv-450

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164 -cv-450

165 7-cv-452

166 7-cv-AS2

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171 7-cv-4S4 to Sever
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188 7-cv-S95 Finesilver,

189 7-Cv-634 RR on Motion for Default
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